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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 24-cv-00001-GPG-STV


   NATIONAL ASSOCIATION FOR GUN RIGHTS
   CHRISTOPHER JAMES HIESTAND RICHARDSON,
   MAX EDWIN SCHLOSSER
   JOHN MARK HOWARD, and
   ROCKY MOUNTAIN GUN OWNERS

         Plaintiffs,

   v.

   JARED S. POLIS, in his official capacity as Governor of the State of Colorado

         Defendant.

   ______________________________________________________________________________

      REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
   ______________________________________________________________________________
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   I.      Dr. Webster’s Declaration Should be Stricken from the Record

           From the first paragraph of its Response Brief (“Resp.), the State argued that

   C.R.S. § 18-12-111.5 (the “Statute”) promotes important policy goals. The State

   attached the Declaration of Bloomberg Professor Daniel Webster in support of these

   policy arguments. Plaintiffs object to Dr. Webster’s declaration and request the Court

   to strike it from the record on the ground that the public policy opinions he expresses

   are irrelevant.

           Dr. Webster holds a doctorate in health policy. Webster Dec. ¶ 3. He states that

   he is providing opinions on the following: “current research relevant to unserialized,

   privately-made firearms (PMFs) use in crime and how the growing availability of

   PMFs affects both the criminal acquisition of and use of firearms to commit violent

   crime and gun trafficking to supply individuals in the underground gun market.”

   Id. ¶ 2. The State’s public policy expert’s opinions are irrelevant to the Court’s

   resolution of Plaintiffs’ Second Amendment challenge. Indeed, New York State Rifle

   & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1 (2022), specifically held that opinions on

   policy such as those expressed by Dr. Webster are out of bounds. The Court wrote:

        To justify its regulation, the government may not simply posit that the
        regulation promotes an important interest. Rather, the government must
        demonstrate that the regulation is consistent with this Nation's historical
        tradition of firearm regulation. Only if a firearm regulation is consistent with
        this Nation's historical tradition may a court conclude that the individual's
        conduct falls outside the Second Amendment's unqualified command.

   597 U.S. at 17 (internal citation and quotation marks omitted; emphasis added).

           Bruen made policy arguments off limits in Second Amendment cases, and the

   State’s public policy expert’s opinions simply have nothing to do with the issues before

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   the Court, i.e., whether the Second Amendment’s plain text covers Plaintiffs’ conduct

   or whether the Statute is consistent with the Nation’s historical tradition of firearm

   regulation. “Irrelevant evidence is not admissible.” Fed. R. Evid. 402.

   II.    Plaintiffs Seek to Preserve the Status Quo

          The State correctly notes that the goal of a preliminary injunction is to

   preserve the status quo pending trial. RoDa Drilling Co. v. Siegal, 552 F.3d 1203,

   1208 (10th Cir. 2009). But the State is wrong when it suggests that Plaintiffs are

   under a heighted standard because they seek to disrupt the status quo. The “status

   quo” is the last uncontested status between the parties before the dispute arose. In

   the context of a newly enacted law, the last peaceable uncontested status was the

   status existing before the government enacted the challenged law. Free the Nipple-

   Fort Collins v. City of Fort Collins, Colorado, 916 F.3d 792, 798 n.3 (10th Cir. 2019);

   see also Springer v. Grisham, 2023 WL 8436312, *3 (D.N.M. Dec. 5, 2023) (Free the

   Nipple rule applied in Second Amendment challenge). The Statute is a newly enacted

   law, and Plaintiffs brought their challenge on the day the law became effective. Thus,

   the rule in Free the Nipple-Fort Collins is applicable. Plaintiffs are attempting to

   preserve, not disrupt, the status quo.

   III.   Plaintiffs Have Standing

          To establish standing a plaintiff must show three elements: (1) he has suffered

   an “injury in fact”; (2) the injury is fairly traceable to the challenged action of the

   defendant; and (3) it is likely that the injury will be redressed by a favorable decision.

   N. New Mexico Stockman’s Ass’n v. United States Fish & Wildlife Serv., 30 F.4th 1210,



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   1219 (10th Cir. 2022) (internal citations and quotation marks omitted). The State

   challenges Plaintiffs’ standing only on the first element (i.e., injury in fact).

         A plaintiff can establish injury sufficient to bring a constitutional challenge to

   a law by (1) showing an intention to engage in a course of conduct that is (2) arguably

   affected with a constitutional interest, but is (3) proscribed by statute, and (4) there

   exists a credible threat of prosecution thereunder. Peck v. McCann, 43 F.4th 1116,

   1129 (10th Cir. 2022) (internal citation and quotation marks omitted).

         The State does not argue that Plaintiffs will not purchase firearms parts kits

   and assemble them into firearms. Resp. 5. Nor does the State argue that such conduct

   is not arguably affected with a constitutional interest. The State does not argue that

   there is no credible threat of prosecution if Plaintiffs were to violate the Statute. The

   State’s sole argument on standing is as follows: “But the Act doesn’t prevent any of

   the Plaintiffs from purchasing kits and assembling firearms. The Act only requires

   that Plaintiffs obtain a serialization from a federal firearm licensee. Plaintiffs thus

   have not pointed to an injury that ‘actually exist[s]’ because the statute does not

   proscribe their proposed conduct. Resp. 5. In other words, the State’s sole standing

   objection is based on element (3) of the injury-in-fact analysis. It claims Plaintiffs’

   proposed conduct is not proscribed by the Statute.

         The State’s argument is meritless. Each of the individual Plaintiffs stated that

   their proposed conduct was to “continue purchasing firearms parts kits and

   assembling them into firearms free of the unconstitutional burden on this conduct

   imposed by C.R.S. § 18-12-111.5, and but for that statute, [they] would in fact



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   continue to do so.” See e.g. Howard Dec., Doc. 8-2, ¶ 2; Richardson Dec., Doc. 8-4, ¶ 2;

   Schlosser Dec., Doc. 8-5, p.1. And the unconstitutional burden to which they refer is

   forcing them to imprint serial numbers on their privately made firearms and

   prohibiting them from making frames and receivers. Mot. 10. Thus, Plaintiffs’

   proposed conduct is proscribed by the State.

          Plaintiffs will introduce additional evidence regarding their injury at the

   hearing on their motion. In particular, one or more of the Plaintiffs will testify that

   they possessed an unserialized handgun in Colorado and that because of the Statute,

   they took steps to dispossess that weapon in Colorado. It should go without saying

   that a Plaintiff has standing to bring a Second Amendment claim when the State has

   forced him to give up possession of a Second Amendment protected handgun.

   IV.    The Plain Text Covers Plaintiffs’ Proposed Conduct

          The Statute makes it illegal to possess unserialized handguns. C.R.S. § 18-12-

   111.5(3)(a). The evidence at the hearing will show that Plaintiffs desire to possess

   (i.e., “keep”) unserialized handguns they have made themselves. The plain text of the

   Second Amendment protects the right to “keep” handguns. D.C. v. Heller, 554 U.S.

   570, 628 (2008). Thus, Plaintiffs’ proposed conduct is protected by the plain text of

   the Constitution.

          In addition, C.R.S. § 18-12-111.5(5)(a)(I) is a flat ban on manufacturing

   firearms1 for the overwhelming majority of people in Colorado. Anyone who is not a



   1 Technically, the Statute bans manufacturing frames and receivers, but this is the functional

   equivalent of banning the manufacture of firearms altogether, because it is impossible to make a
   firearm without a frame or receiver.

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   federally licensed firearms manufacturer is barred from making guns. This means

   that as of January 1, 2024, out of a population of 5.8 million people in Colorado, only

   632 licensed manufacturers may exercise their right to make guns without fear of

   criminal prosecution. Plaintiffs desire to produce privately made firearms. The right

   to keep and bear arms implies a corresponding right to acquire arms. This is most

   commonly accomplished through purchasing arms, but it can also be accomplished by

   making arms. The State argues the Second Amendment protects only the right to

   carry or possess arms a citizen already has and it does not include a right to

   manufacture arms because the word “manufacture” is not in the text. Resp. 7-8. But

   common sense dictates that one cannot keep and bear an arm if one has not acquired

   it in the first place. See United States v. Alston, 2023 WL 4758734, *8 (E.D.N.C., Jul

   28., 2023) (“As a logical matter, it is impossible to ‘keep’ or ‘bear’ arms without first

   receiving them. If the Second Amendment protects the possession and use of firearms,

   it must also protect their acquisition – otherwise, the Amendment would protect

   nothing at all.”).

          The State insists, however, that no ancillary rights are implied by the Second

   Amendment at all. Resp. 8. This is plainly wrong as a matter of general constitutional

   law. “Constitutional rights . . . implicitly protect those closely related acts necessary

   to their exercise.” Luis v. United States, 578 U.S. 5, 26 (2016) (Thomas, J.,

   concurring). Thus, the right to keep and bear arms implies a corresponding right to

   acquire arms and to obtain the bullets necessary to use them. Id. “Without protection

   for these closely related rights, the Second Amendment would be toothless.” Id. As



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   the Ninth Circuit noted in Teixeira v. Cnty. of Alameda, 873 F.3d 670, 677 (9th Cir.

   2017), the Second Amendment right to keep and bear arms wouldn’t mean much

   without the ability to acquire arms. See also Ezell v. City of Chicago, 651 F.3d 684,

   704 (7th Cir. 2011) (right to possess firearms implies a corresponding right to acquire

   them).

         “Similarly, here, the right to keep and bear arms implies a corresponding right

   to manufacture arms. Indeed, the right to keep and bear arms would be meaningless

   if no individual or entity could manufacture a firearm.” Rigby v. Jennings, 630 F.

   Supp. 3d 602, 615 (D. Del. 2022). See also Miller v. Bonta, 2023 WL 6929336, at *6

   (S.D. Cal. Oct. 19, 2023) (appeal filed) (right to possess firearm is covered by plain

   text and therefore it “should go without saying” that right to manufacture is as well);

   and Duncan v. Bonta, 2023 WL 6180472, at *17 (S.D. Cal. Sept. 22, 2023) (appeal

   filed) (same regarding manufacture of firearm magazine).

         The State attempts to distinguish Rigby on the ground that the Colorado

   statute provides a way for the maker of a privately made firearm to obtain a serial

   number. Resp. 9. This is simply not true. On its face, C.R.S. § 18-12-111.5(5)(a)(I)

   makes it illegal for anyone who is not a federally licensed firearms manufacturer to

   make a firearm – period full stop. This is true even if the person intends to have the

   firearm stamped with a serial number.

         Moreover, the State misreads Rigby’s discussion of serial numbers in the first

   place. Rigby flatly holds that the “[t]he Second Amendment . . . protects the possession

   of untraceable firearms and unfinished firearms and receivers because its text covers



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   the possession of firearms.” It is true that Rigby goes on to say that the Delaware

   statute did not provide a way to obtain serial numbers for citizens who desired to do

   so. But nothing in the opinion limited the generality of the of the court’s holding that

   the plain text of the Second Amendment covers the right to possess unserialized

   firearms because the text covers the right to possess firearms. 2

   V.     In the Founding Era Private Gun Making Existed and Was
          Unregulated

          Plaintiffs submit the Declaration of Joseph Greenlee. In addition to re-

   iterating much of his article that was cited in the motion, Greenlee states that of the

   300,000 long arms used in the Revolution, as many as 80,000 were the product of

   America’s scattered gunsmiths using mixed components. Greenlee Dec. ¶ 19. Thus,

   there can be little question that Americans privately made firearms in the Founding

   era, and the government was aware of the practice and sometimes encouraged it.

   Greenlee Dec. ¶ 47. The practice was never regulated, much less prohibited. Id. As

   Jefferson once wrote, “Our citizens have always been free to make, vend, and export

   arms. It is the constant occupation and livelihood of some of them.” Id.3

   VI.    The State’s Experts Give Away the Store

          Professor Spitzer admits that “[m]eaningful serialization of firearms is a

   relatively recent phenomenon. Spitzer Dec. ¶ 13. Spitzer also acknowledges the

   existence of a gun making tradition in the Founding era when he asserts that a



   2 The State argues that United States v. Avila cannot be distinguished from this case. Resp. 10. But it

   clearly can for the reasons set forth in the Motion. Mot. 10. Plaintiffs will not repeat those arguments
   here.
   3 Quoting Letter from Thomas Jefferson to George Hammond (May 15, 1793), in 7 THE WRITINGS

   OF THOMAS JEFFERSON 326 (Paul Ford ed., 1904)

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   colonial gunsmith might have been able to make two to possibly three muskets a week

   if some of the more intricate parts such as the lock mechanism were obtained from

   abroad. Spitzer Dec. ¶ 14. Professor Delay similarly states that Founding-era

   gunsmiths made firearms with a mix of self-made components and imported locks

   and barrels. DeLay Dec. ¶ 42.

         This testimony is stunning because it practically proves Plaintiffs’ case. Both

   of the State’s history experts admit that in the Founding-era European

   manufacturers played the role that Polymer80, Inc. plays today. In the Founding era

   the European manufacturers sent components to do-it-yourself gun makers who

   assembled the components into firearms. Today, Polymer80 sends components to do-

   it-yourself gun makers who assemble the components into firearms. DeLay all but

   admits that the Founding-era and modern practices are similar. DeLay Dec. ¶ 44.

   DeLay tries to downplay the obvious similarities by pointing to the difference in

   delivery speeds of the components and the work necessary to assemble the

   components into a firearm. But for all his protests, nothing could be clearer than that

   the processes he describes are functionally identical. In both cases, a do-it-yourself

   gun maker receives components from a gun company and assembles them into a

   firearm.

         DeLay makes much of the fact that do-it-yourself gun makers produced

   firearms on a much smaller scale than the organized manufacturing concerns and

   that gun making was beyond the ken of the average person. DeLay Dec. ¶¶ 18, 30.

   No one disputes that during the Founding era, (1) most firearms were produced by



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  gun manufacturing concerns; and (2) only a few people engaged in private gun

  making. But surely DeLay has missed the point. Indeed, by pointing these things out

  he has once again highlighted similarities between the Founding era and today. (1)

  Today, just as in the Founding era most firearms are produced by manufacturing

  companies. (2) Today, just as in the Founding era, only a few people engage in private

  gun making.

        During the Founding era, individuals engaged in small-scale do-it-yourself

  firearm making that was functionally equivalent to the private manufacturing

  Plaintiffs engaged in before Colorado criminalized it. Both of the State’s experts

  admit this. Spitzer Dec. ¶ 14; DeLay Dec. ¶ 47. This is critical to the Court’s

  resolution of Plaintiffs’ motion. The State asserts that small scale do-it-yourself gun

  making from component kits is a problem. But the Founders were well aware of an

  identical practice and they did not regulate it, much less prohibit it as the State has.

  Indeed, Professor DeLay admits that far from discouraging small scale private

  manufacturing, the Founders actively encouraged it with cash incentives. DeLay

  Dec. ¶ 55.

        Bruen noted that when a challenged regulation addresses an issue that existed

  in the 18th century, the lack of a similar historical regulation addressing the issue is

  evidence that the challenged regulation is unconstitutional. 597 U.S. at 26. Thus, the

  fact that the Founders could have enacted a regulation identical to the challenged

  Colorado Statute but chose not to do so means that the Statute is not consistent with




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  the Nation’s history and tradition of firearm regulation and is therefore

  unconstitutional.

  VII.   Spitzer’s List of Regulations of Trap Guns, Clubs and Knives is
         Irrelevant

         The State points to regulations of gunpowder storage, knives, trap guns and

  clubs and suggests that those regulations are analogous to the Statute. Resp. 11-13.

  Here, the State is following a tradition that dates all the way back to Heller of spewing

  a list of random regulations and saying “voilà, analogues.” In Bruen, the court

  specifically disapproved this practice. The Court wrote that at a high enough level of

  generality, everything is infinitely analogous to everything else. 597 U.S. at 29.

  Therefore, listing random regulations will not do. Instead, the government must

  demonstrate “relevantly similar” regulations that are similarly justified (the “why”

  question) and that impose similar burdens (the “how” question). Id. The State does

  not even attempt to comply with Bruen’s instructions. For example, it refers to laws

  regulating the public carry of knives and laws requiring the safe storage of

  gunpowder, but it does not even begin to explain how the “why” and “how” of these

  laws is similar to the “why” and “how” of the challenged Statute.



  /s/ Barry K. Arrington
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                             CERTIFICATE OF SERVICE

         I hereby certify that on March 8, 2024, I electronically filed a true and correct
  copy of the foregoing with the Clerk of the Court using the CM/ECF system, which
  will send notification of such filing via email to parties of record.

  /s/ Barry K. Arrington
  _______________________
  Barry K. Arrington




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